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JS 44 (Rev. 10/20)             District of Colorado                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                                                      DEFENDANTS
         Eric Gutman, individually and behalf of all others similarly
                                                                                                                                       PointsBet USA Inc., a Delaware corporation, et al.
         situated
     (b) County of Residence of First Listed Plaintiff New York NY                                                                     County of Residence of First Listed Defendant
                                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                       NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                    THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                           Attorneys (IfKnown)

             Kronenberger Rosenfeld, LLP, 150 Post St., Suite 520
             San Francisco, CA 94108, 415-955-1155
n.      BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                         ID. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                                  (For Diversity Cases Only)                                                   and One Box for Defendant)
DI       U.S. Government                       03        Federal Question                                                                                         PTF          DEF                                                  PTF       DEF
           Plaintiff                                       (U.S. Government Not a Party)                                   Citizen of This State                 D  I        D           Incorporated or Principal Place             D    4   D
                                                                                                                                                                                                                                              x 4
                                                                                                                                                                                           of Business In This State

D2       U.S. Government
           Defendant
                                               [BJ 4     Diversity
                                                           (Indicate Citizenship of Parties in Item III)
                                                                                                                           Citizen of Another State              [BJ 2
                                                                                                                                                                             □      2    Incorporated and Principal Place
                                                                                                                                                                                           of Business In Another State
                                                                                                                                                                                                                                     □    5   Os

                                                                                                                           Citizen or Subject of a
                                                                                                                             Foreign Country
                                                                                                                                                                 03          □     3     Foreign Nation                              □    6   06

IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                     Click here for: Nature of Suit Code Descri tions.
              CONTRACT                                                         TORTS
  110 Insurance                               PERSONAL INJURY                        PERSONAL INJURY                                        625 Drug Related Seizure               422 Appeal 28 USC 158                375 False Claims Act
�
  120 Marine                                  310 Airplane                          D
                                                                                    365 Personal Injury -                                       of Property 21 USC 881             423 Withdrawal                       376 Qui Tam (31 USC
  130 Miller Act                              315 Airplane Product                         Product Liability                                690 Other                                   28 USC 157                          3729(a))
  140 Negotiable Instrument                        Liability                        D
                                                                                    367 Health Care/
                                                                                                                                                                                  "'""=""="'""'"'"'"'"'"",,.--
                                                                                                                                                                                                                        400 State Reapportionment
D I 50 Recovery of Overpayment                320 Assault, Libel &                        Pharmaceutical                                                                    I--,PRo PERTY RIG HTS                 -F9   410 Antitrust
       & Enforcement of Judgment                   Slander                                Personal Injury                                                                          820 Copyrights                       430 Banks and Banking
D 151 Medicare Act                            330 Federal Employers'                      Product Liability                                                                        830 Patent                           450 Commerce
D 152 Recovery of Defaulted                        Liability                        D
                                                                                    368 Asbestos Personal                                                                          835 Patent - Abbreviated             460 Deportation
        Student Loans                         340 Marine                                   Injury Product                                                                               New Drug Application            470 Racketeer Influenced and
        (Excludes Veterans)                   345 Marine Product                           Liability                                                                               840 Trademark                            Corrupt Organizations
                                                                                                                                          1-------------1-=1
D 153 Recovery of Overpayment                      Liability                    PERSONAL PROPERTY 1-,-----.,......,,LA...                                BO..R ,.....,....._+_, 880 Defend Trade Secrets
                                                                                                                                                      ,.. .., .._
                                                                                                                                                                                                                        480 Consumer Credit
       of Veteran's Benefits                  350 Motor Vehicle              [BJ 370 Other Fraud                                            710 Fair Labor Standards                    Act of 2016                         (15 USC 1681 or 1692)
D I 60 Stockholders' Suits                    355 Motor Vehicle                     D
                                                                                    371 Truth in Lending                                        Act
                                                                                                                                                                                    "'"'="""''"""'"""""'"'"'="'-
                                                                                                                                                                                                                        485 Telephone Consumer
D 190 Other Contract                              Product Liability                 D
                                                                                    380 Other Personal                                      720 Labor/Management            1----,soc IAL SEc uR tTY --r�                   Protection Act
D 195 Contract Product Liability              360 Other Personal                          Property Damage                                       Relations                          861 HlA (1395ft)                     490 Cable/Sat TV
D 196 Franchise                                   Injury                            D
                                                                                    385 Property Damage                                     740 Railway Labor Act                  862 Black Lung (923)                 850 Securities/Commodities/
                                              362 Personal Injury -                       Product Liability                                 751 Family and Medical                 863 DIWC/DIWW (405(g))                   Exchange
                                                  Medical Malpractice                                                                           Leave Act                          864 SSID Title XVI                   890 Other Statutory Actions
1-,--�RE   AL PROPERTY _-+...,..,.,;;C;.;IVIL;;.;;.       RIG H�T.;;;S.,..._-+-;;.PRIS;;..O NER PETITIONS �790 Other Labor Litigation                                              865 RSI (405(g))                     891 Agricultural Acts


§
        =;;;,,;;.;;.;.;;.;;.;;;;;.;.;;..;;...      ,,_;;;  ,,,.;;.;,;              ;;;;;; ;.;;.;;;;.,;.;;.;;.;;;;.;;.;.;;.;;.;.;;.;;;....
   210 Land Condemnation                      440 Other Civil Rights                Habeas Corpus:                                          791 Employee Retirement                                                     893 Environmental Matters
D  220 Foreclosure                            441 Voting                            463 Alien Detainee                                          Income Security Act
                                                                                                                                                                                    ""=--
                                                                                                                                                                            1-----FEoERA   __
                                                                                                                                                                                                  ""--- """""",--
                                                                                                                                                                                              L_TAX""sm TS -+-t         895 Freedom of Information
   230 Rent Lease & Ejectment                 442 Employment                        510 Motions to Vacate                                                                          870 Taxes (U.S. Plaintiff                Act
   240 Torts to Land                          443 Housing/                                Sentence                                                                                      or Defendant)                   896 Arbitration
   245 Tort Product Liability                     Accommodations                    530 General                                                                                    871 IRS-Third Party                  899 Administrative Procedure
D  290 All Other Real Property                445 Amer. w/Disabilities -            535 Death Penalty                                            IMMIGRATI N                             26 USC 7609                        Act/Review or Appeal of
                                                  Employment                        Other:                                                  462 Naturalization Application                                                  Agency Decision
                                              446 Amer. w/Disabilities -            540 Mandamus & Other                                    465 Other Immigration                                                       950 Constitutionality of
                                                  Other                             550 Civil Rights                                            Actions                                                                     State Statutes
                                              448 Education                         555 Prison Condition
                                                                                    560 Civil Detainee -
                                                                                          Conditions of
                                                                                          Confinement
V. ORIGIN (Place an                   "X" in One Box Only)
[BJ 1    Original
         Proceeding
                               D2 Removed from
                                  State Court
                                                                       □3          Remanded from
                                                                                   Appellate Court
                                                                                                                  D4       Reinstated or
                                                                                                                           Reopened
                                                                                                                                                 D     5 Transferred from
                                                                                                                                                         Another District
                                                                                                                                                                                        D6       Multidistrict
                                                                                                                                                                                                 Litigation -
                                                                                                                                                                                                                             D8    Multidistrict
                                                                                                                                                                                                                                   Litigation -
                                                                                                                                                           (specify)                             Transfer                          Direct File
                                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                    28 u.s.c. §1332(a) and 28 u.s.c. §1332(d)                                                                                            AP Docket
VI. CAUSE OF ACTION                                 Brief description of cause:
                                                    Class action claims and diversity jurisdiction claims alleging violations of state consumer protection laws, misrepresentation, fraud, etc.
VII. REQUESTED IN    (BJ CHECK IF THIS IS A CLASS ACTION                                                                       DEMAND $                                             CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                                                  JURY DEMAND:                         (B]Yes     0No

VIII. RELATED CASE(S)
                                                                                                       ----------------- DOCKET NUMBER -------------
                        (See instructions):
      IF ANY                                JUDGE
DATE                                                                                    SIGNATURE OF ATTORNEY OF RECORD
 Aug 19, 2022                                                                             s/Karl S. Kronenberger
FOR OFFICE USE ONLY
                                                                                                       I
    RECEIPT#                             AMOUNT                                               APPLYNG IFP                                              JUDGE                                      MAG.JUDGE
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